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                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

 Jennifer Harding, et al.,

                        Plaintiffs,
 v.

 John Bel Edwards, the Governor of the State
 of Louisiana, in his Official Capacity, et al.,

                        Defendants,                  Civil Action: 3:20-cv-495

         and

 The State of Louisiana,

                        Proposed Intervenor.


                   ORDER GRANTING INTERVENOR-DEFENDANT’S
                            MOTION TO INTERVENE

       Before the Court is Defendant the State of Louisiana’s motion to Intervene. After

considering the motion, the Court is of the opinion it should be GRANTED.

       IT IS THEREFORE ORDERED that the State of Louisiana may intervene in the above-

captioned-matter as an Intervenor-Defendant.

       IT IS FURTHER ORDERED that Intervenor is hereby instructed to file Motions attached

as exhibits to Rec Doc 21 as separate Motions if action by the Court is requested. Motions attached

as exhibits to Rec. Doc. 21 are not considered lodged and shall not be considered by the Court

unless and until properly filed.

       Signed in Baton Rouge, Louisiana the 25th day of August, 2020.



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                                          CHIEF JUDGE SHELLY D. DICK
                                          UNITED STATES DISTRICT COURT
                                          MIDDLE DISTRICT OF LOUISIANA
